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                                                                                 FILED
                                                                         U.S. DISTRICT COURT
                                                                        DISTRICT OF WYOMING
Nathan N. Andrews, Plaintiff pro se
4607 Carmel Drive
                                                                             MAY 05 2011
Cheyenne, WY 82009                                                        Stephan Harris, Clerk
Voice (307) 509-0016                                                           Cheyenne
FOR THE: PLAINTIFF


                             IN THE UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF WYOMING



NATHAN N. ANDREWS,                                          )
                                                            ) DOCKET NO. 2:2011-CY- 11 ~-     F
                             Plaintiff,                     )
                                            )
        vs.                                 )
                                            )
JOHN ONISTO, Benefit Specialist, State of   )
Wyoming, Department of Family Services;     )
SANDRA VOIGT, Benefit Specialist            )
Supervisor, State of Wyoming, Department of )
Family Services; STATE OF WYOMING,          )
DEPARTMENT OF FAMILY SERVICES; and )
JOHN AND JANE DOES 1 THOUGH 10,             )
                                            )
                      Defendants.           )



                                            CIVIL COMPLAINT



          COMES NOW, Plaintiff Nathan N. Andrews, pro se, and for his Complaint against the

Defendants' states and alleges as follows:


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                                PARTIES AND JURISDICTION



       1. Plaintiff, Nathan N. Andrews, is and was so at all times relevant to this Complaint a

resident of Laramie County, Wyoming. Mr. Andrews' address is 4607 Carmel Drive, Cheyenne,

Wyoming 82009, and his phone number is (307) 509-0016.



       2. Defendant, John Onisto is, and was so at all times relevant to this Complaint a resident

of Laramie County, Wyoming and was acting as a Benefit Specialist at the State of Wyoming,

Department of Family Services. Mr. Onisto's address is 1510 East Pershing Boulevard,

Cheyenne, Wyoming 82001, and his phone number is (307) 777-7921. Mr. Onisto is sued in his

individual and official capacities.



       3. Defendant, Sandra Voigt is, and was so at all times relevant to this Complaint a

resident of Laramie County, Wyoming and was acting as a Benefit Specialist Supervisor at the

State of Wyoming, Department of Family Services. Ms.. Voigt's address is 1510 East Pershing

Boulevard, Cheyenne, Wyoming 82001, and her phone number is (307) 777-7921. Ms. Voigt is

sued in her individual and official capacities.




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        4. Defendant, State of Wyoming Department of Family Services is, and was so at all

times relevant to this Complaint a governmental entity that services federally funded programs to

residents of the State of Wyoming. State of Wyoming, Department of Family Services address is

1510 East Pershing Boulevard, Cheyenne, Wyoming 82001, and their phone number is (307)

777-7921. State of Wyoming, Department of Family Services is sued in their individual and

official capacities.



        5. Defendants, John and Jane Does 1 through 10, are employees of State of Wyoming,

Department of Family Services and their identities are currently unknown to the Plaintiff.

However, their identities will be discovered during the discovery process.



        6. The amount in controversy exceeds the jurisdictional minimum ofthis Court and venue

in the United States District Court for the District of Wyoming is proper because the acts or

omissions that form the basis for Plaintiffs claims occurred entirely within this district.



                                    BACKGROUND FACTS



        7. On April 20, 2011 Plaintiff Andrews filed an Application for Benefits with Defendant

State of Wyoming, Department of Family Services (hereinafter "DFS") requesting that

Defendant DFS provide assistance to the Plaintiff and the Plaintiffs daughter (referred to as only

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lEA for confidentiality reasons). The assistance requested was for medical care and supplemental

nutrition assistance program (SNAP).



        8. On April 22, 20 II Plaintiff Andrews received a phone call from Defendant Onisto

regarding the application of benefits and Defendant Onisto advised Plaintiff that Defendant DFS

and Defendant Onisto were not going to approve assistance for the Plaintiff and the Plaintiffs

minor child because the minor child was receiving benefits on another person's case/account.

The Plaintiff explained to Defendant Onisto that he (Plaintiff) has physical custody of the minor

child and that there was an action pending in the Laramie County District Court that was

anticipated to grant full and sole legal custody of the referenced minor child. Defendant Onisto

still denied benefits to the Plaintiff.



        9. On or about April 26, 2011 the Plaintiff contacted Defendant Voigt regarding the

denial of benefits, as Defendant Voigt was the supervisor of Defendant Onisto. The Plaintiff

explained the situation to Defendant Voigt and Defendant Voigt upheld the decision of

Defendant Onisto.



        10. On or about April 27, 20 II Plaintiff received notification from the Laramie County

District Court that the Plaintiff was divorced and that      ht~   (Plaintiff) did in fact have sole custody

of the minor child.

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       11. On or about May 04, 2011 the Plaintiff again met with Defendant Onisto and showed

Onisto the documents and again requested that his (Plaintiff) application for benefits be

processed. Defendant Onisto stated "those court papers don't mean shit to me. [minor child's

name] is on another case load and I am not authorizing benefits for you." This was a direct

statement that was in violation of the Court Order from the Laramie County District Court. After

a heated discussion between the Plaintiff and Defendant Onisto, the end result was that benefits

and assistance was still denied to the Plaintiff and the Plaintiffleft Defendant Onisto's office.



        12. Voice messages were left for Defendant Voigt and the complaint representative for

Defendant DFS on May 04, 2011 and on May 05, 2011 and no calls were returned as of the time

of writing this Complaint.



           COUNT 1: UNLAWFUL WITHHOLDING OF FEDERAL BENEFITS



        13. Defendants DFS, Onisto and Voigt have been charged with a duty by the State of

Wyoming and the United States Government to administer SNAP and other assistance programs

to individuals, children and family who qualify for those benefits.




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        14. Plaintiff Andrews is unemployed, with no other source of income, and is a single

father raising a minor child. The Plaintiff therefore qualifies for SNAP assistance, as well as

other federal programs administered by Defendant DFS and Defendant Onisto.



        15. Defendants DFS, Onisto and Voigt have discriminated against the Plaintiff in denying

benefits and services without just cause.



        16. Defendants' DFS, Onisto and Voigt have unlawfully violated the Plaintiff's

constitutional right to receive the same access to benefits and services afforded to those similarly

situated.



        17. Defendants' DFS, Onisto and Voigt have clearly misapplied state and federal laws

and in doing so, have denied the Plaintiff access to public programs and services.



                    COUNT 2: WILLFUL AND MALICIOUS CONDUCT



        18. Defendant DFS and its employees, agents and departments have been neglectful in

handling this matter.




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        19. Plaintiff Andrews has been damaged by Defendants' conduct in that the Plaintiff and

his minor child have no money for food and are unable to gain assistance that should have been

afforded to him (Plaintiff) and his (Plaintiff) daughter.



       20. Defendants' Onisto and Voigt have been malicious and hostile during this entire

process and have failed to take corrective action regarding the denial of benefits.



        21. Defendants' DFS have been negligent in that their representative, Christi Langley,

has refused and or failed to return calls concerning a complaint against staff members who are

employed and under the control of Defendant DFS.




        WHEREFORE, the Plaintiffs' pray as follows:



        1. For judgment in favor of the Plaintiff in the amount of $500,000.00 to compensate him

for his personal injuries, and such other compensatory damages which the Court or a jury may

properly award in accordance with the evidence at the trial of this matter;



        2. For punitive damages against the Defendants in an amount sufficient to punish them

for his malicious, willful and wanton conduct, to publicly condemn his actions and to serve as a

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warning and deterrent to others similarly situated, which such amount shall not be less than

$10,000.00; and



       4. For Plaintiffs costs in bringing this action, including but not limited to, his reasonable

attorney's fees, process of service fees, filing fees and such other and further relief as the Court

may deem appropriate under the circumstances.




       DATED this    5-    day of May, 2011.




                                               Nathan N. Andrews, "Plaintiff pro se
                                               4607 Carmel Drive
                                               Cheyenne, WY 82009
                                               Voice (307) 509-0016



STATE OF WYOMING               )
                               ) ss.
COUNTY OF LARAMIE              )



        Sqp~cribed and
                 sworn to before me, a Notary Public, by NATHAN N. ANDREWS, on
this h~y of May, 2011.          ANG ~EENA CAfO • NARY PUB Ie

                                         COUNTY OF          !ITATE OF
                                          lAAAMIE           II/YOMING




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